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ATTACHMENT B

DESCRIPTION OF ITEMS TO BE SEIZED AND SEARCHED

1. All records, in whatever form, and tangible objects that constitute evidence, fruits,

or instrumentalities of violations of the following statutes: knowing possession of child

pornography, 18 U.S.C. § 2252(a)(4)(b), knowing transportation of child pornography, 18 U.S.C.

§ 2252(a)(1), and knowing receipt and distribution of child pornography, 18 U.S.C. § 2252(a)(2),

including:

A. Records and tangible objects pertaining to the following topics:

1. Images or visual depictions of child pornography;

2. Child erotica, including text, images, and visual depictions;

3. Communications about child pornography or sexual activity with or sexual
interest in minors;

4, Internet activity reflecting a sexual interest in minors or child pornography;

5. Information concerning the minor subject of any visual depiction of child
pomography, child erotica, sexual activity with other minors or adults, or of
sexual interest, or that may be helpful in identifying any such minor;

6. Address books (virtual and physical), names, and lists of names and
addresses of individuals who may have been contacted by use of the
computer or by other means for the purpose of committing violations of the
subject offenses;

7. Membership in online groups, clubs, or services that provide, make
accessible, or otherwise concern child pornography; and

8. The existence of e-mail accounts, online storage, or other remote computer
storage.

B. Records and tangible objects pertaining to the existence, identity, and travel of any

co-conspirators, as well as any co-conspirators’ acts taken in furtherance of the
crimes listed above;
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C. Records and tangible objects relating to the ownership, occupancy, or use of the
premises to be searched (such as utility bills, phone bills, rent/mortgage payments,
photographs, insurance documentation, receipts, and check registers);

D. For any computer hardware, computer software, mobile phones, or storage media
called for by this warrant or that might contain things otherwise called for by this
warrant (“the computer equipment”):

1, evidence of who used, owned, or controlled the computer equipment;

2. evidence of the presence or absence of malicious software that would allow
others to control the items, and evidence of the presence or absence of
security software designed to detect malicious software;

3. evidence of the attachment of other computer hardware or storage media;

4, evidence of counter-forensic programs (and associated data) that are
designed to eliminate data;

5. evidence of how and when the computer equipment was used or accessed;

6. records of or information about any Internet Protocol addresses used;

7. passwords, encryption keys, and other access devices that may be necessary
to access the computer equipment;

8. contextual information necessary to understand the evidence described in
this attachment;

9. records and tangible objects pertaining to accounts held with companies
providing Internet access or remote storage; and

2. The voices and conversations of any person present at 1153 Hardscrabble Road,

Bristol, Vermont on the day of the execution of the residential search warrant. An identified

police officer(s) will be a knowing and consenting party/parties to the participant electronic

monitoring. The participant electronic monitoring may include a digital recording made with the

use of audio transmitting and receiving devices during contact with the persons mentioned

above.

3. All computer hardware, computer software, and storage media. Off-site searching
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of these items shall be limited to searching for the items described in Paragraph I.
